     Case 2:20-cv-00814-KJD-VCF Document 17 Filed 01/11/21 Page 1 of 2




1    BONDS ELLIS EPPICH SCHAFER JONES LLP
     Patrick D. Sheridan (Admitted Pro Hac Vice)
2    Texas State Bar No. 24079321
     420 Throckmorton Street, Suite 1000
3
     Fort Worth, TX 76102
4    Phone: (817) 405-6900
     Fax:     (817) 405-6902
5    patrick.sheridan@bondsellis.com
6    ANDREA M. GANDARA, ESQ.
     Nevada Bar No. 12580
7
     E-mail: agandara@nevadafirm.com
8    MAYRA SALINAS-MENJIVAR, ESQ.
     Nevada Bar No. 14607
9    E-mail: msalinas@nevadafirm.com
     HOLLEY DRIGGS
10   400 South Fourth Street, Third Floor
11   Las Vegas, Nevada 89101
     Telephone: 702/791-0308
12   Facsimile: 702/791-1912

13   Attorneys for Defendants
14
                                    UNITED STATES DISTRICT COURT
15
                                          DISTRICT OF NEVADA
16
                                                   *****
17
      SO, LLC dba EAGLE PROMOTIONS                    CASE NO.: 2:20-cv-00814
18
                            Plaintiff,
19                                                    STIPULATION AND ORDER TO
      v.                                              EXTEND DEADLINE TO FILE
20                                                    OPPOSITION TO MOTION FOR
      GOLDEN RATIO TECHNICAL                          PARTIAL SUMMARY JUDGMENT
21    MANAGEMENT SERVICES; an unknown
      entity; GOLDEN RATIO MANAGEMENT
22    CORPORATION, a Texas corporation; PAUL
      WIGGINS, an individual and DOES I through
23    V; and ROE BUSINESS ENTITIES I through
      V,
24
                            Defendants.
25

26

27

     14223-01/2543088.doc
     Case 2:20-cv-00814-KJD-VCF Document 17 Filed 01/11/21 Page 2 of 2




1             The parties submit the following Stipulation and Order extending the deadline to file

2    Opposition to Motion for Partial Summary Judgment currently scheduled on Wednesday, January 13,

3    2021 to Wednesday, January 27, 2021.

4             DATED this 8th day of January, 2021.

5    LUH & ASSOCIATES                                     BONDS ELLIS EPPICH SCHAFER JONES
                                                          LLP
6    /s/Craig Slater
7                                                         /s/ Andrea M. Gandara
     CRAIG SLATER, ESQ.
8    Nevada Bar No. 8667                                  PATRICK D. SHERIDAN, ESQ. (pro hac)
     8987 W. Flamingo Road, Suite 100                     Texas Bar No. 24079321
9    Las Vegas, NV 89147                                  420 Throckmorton St., Suite 1000
     Counsel for Plaintiff                                Fort Worth, Texas 76102
10
                                                          ANDREA GANDARA, ESQ.
11
                                                          Nevada Bar No. 12580
12                                                        HOLLEY DRIGGS
                                                          400 S. 4th Street, Third Floor
13                                                        Las Vegas, Nevada 89101
                                                          Counsel for Defendants
14
                                                     ORDER
15
              IT IS SO ORDERED.
16

17                                                          UNITED STATES DISTRICT JUDGE
18
                                                            Dated: 1/11/2021
19

20

21

22

23

24

25

26

27

     14223-01/2543088.doc
